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                                 [Civil No. 22-7464, Docket Nos. 8, 72, 93, 96, 102, 109, 116]
                                                      [Civil No. 22-7463, Docket Nos. 8, 47]

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


   RONALD KOONS, et al.,                                   Civil No. 22-7464 (RMB/AMD)

                  Plaintiffs,                              Consolidated with
                                                           Civil No. 22-7463 (RMB/AMD)
          v.

   MATTHEW PLATKIN,                                                   ORDER
   in his official capacity as Attorney General of
   the State of New Jersey, and
   PATRICK CALLAHAN,
   in his official capacity as Superintendent of the
   New Jersey State Police,

                  Defendants,

          and

   NICHOLAS SCUTARI,
   President of the New Jersey Senate, and
   CRAIG COUGHLIN,
   Speaker of the New Jersey Assembly,

                  Intervenors-Defendants.


 BUMB, Chief District Judge

        THIS MATTER having come before the Court on Plaintiffs’ Motions for a

 Preliminary Injunction pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule

 65.1 [Civil No. 22-7464 (“Koons”), Docket No. 8; Civil No. 22-7463 (“Siegel”), Docket No.

 8]; and the Court having considered the submissions of the parties and their amici curiae; and

 for the reasons set forth in the accompanying Opinion of today’s date; and for good cause

 shown,

        IT IS on this 16th day of May 2023, hereby
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        ORDERED that Plaintiffs’ Motions for a Preliminary Injunction to enjoin N.J. Stat.

 Ann. § 2C:58-4.6(a)(6), (a)(9) (zoos only), (a)(10) (to include N.J. Admin. Code § 7:2-2.17(b),

 but excluding playgrounds), (a)(12), (a)(15), (a)(17), (a)(18) (to include N.J. Admin. Code §

 69D-1.13), (a)(21) (only as to facilities set forth in Plaintiffs’ declarations), (a)(23), (a)(24)

 (only as to private property that is held open to the public), id. § 2C:58-4.6(b)(1) (prohibition

 on functional firearms in vehicles), id. § 2C:58-4(c) (in-person interview requirement of carry

 permit applicant’s character endorsers); id. §§ 2C:58-4(d)(4), 2C:58-4.3 (Insurance Mandate),

 and N.J. Admin. Code § 7:25-5.23(f)(5) (prohibition on functional firearms in vehicles) are

 GRANTED; and it is

        FURTHER ORDERED that Defendants, as well as their officers, agents, servants,

 employees, and attorneys (and any other persons in active concert or participation with them)

 are PRELIMINARILY ENJOINED from enforcing N.J. Stat. Ann. § 2C:58-4.6(a)(6), (a)(9)

 (zoos only), (a)(10) (to include N.J. Admin. Code § 7:2-2.17(b), but excluding playgrounds),

 (a)(12), (a)(15), (a)(17), (a)(18) (to include N.J. Admin. Code § 69D-1.13), (a)(21) (only as to

 facilities set forth in Plaintiffs’ declarations), (a)(23), (a)(24) (only as to private property that

 is held open to the public), id. § 2C:58-4.6(b)(1) (prohibition on functional firearms in

 vehicles), id. § 2C:58-4(c) (in-person interview requirement of carry permit applicant’s

 character endorsers); id. §§ 2C:58-4(d)(4), 2C:58-4.3 (Insurance Mandate), and N.J. Admin.

 Code § 7:25-5.23(f)(5) (prohibition on functional firearms in vehicles); and it is

        FURTHER ORDERED that Plaintiffs’ Motions for a Preliminary Injunction to enjoin

 N.J. Stat. Ann. § 2C:58-4.6(a)(10) (playgrounds), (a)(11) (youth sports events), (a)(20)

 (airports and transportation hubs except as modified in the Opinion of today’s date to permit

 the checking of a firearm as checked luggage prior to entry of an airport and dropping off or

 picking up passengers from an airport), and (a)(22) (health care facilities that provide
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 addiction or mental health treatment or support services), id. § 2C:39-6(a)(12) (exemption for

 judges, prosecutors, and attorneys general), id. § 2C:58-4.4(a)(5) (unjustified display of a

 handgun), and N.J. Admin. Code § 7:25-5.23(a), (c), (f), (i) and (m) (Fish and Game

 Restrictions) are DENIED; and it is

         FURTHER ORDERED that Siegel Plaintiffs’ First Amendment challenge to N.J. Stat.

 Ann. § 2C:58-4(b), (c)’s application requirements is DISMISSED without prejudice on

 standing grounds; and it is

         FURTHER ORDERED that Siegel Plaintiffs’ Motion for a Preliminary Injunction to

 enjoin Chapter 131’s statutory disqualifiers (N.J. Stat. Ann. § 2C:58-3(c), (c)(5)), Chapter

 131’s “reputable persons endorsement” provision (N.J. Stat. Ann. § 2C:58-4(b)), Chapter

 131’s provision allowing licensing authorities to request “such other information” deemed

 reasonably necessary to review a concealed carry applicant’s application (N.J. Stat. Ann. §

 2C:58-4(c)) (as modified by the Court’s Opinion), and the new fee schedule is DENIED; and

 it is

         FURTHER ORDERED that Siegel Plaintiffs’ challenge to N.J. Admin. Code §

 7.25-5.23(i) is DISMISSED without prejudice on standing grounds; and it is

         FURTHER ORDERED that Plaintiffs are EXCUSED from giving security; and it is

         FURTHER ORDERED that Defendants’ Motion for Leave to File an Overlength

 Brief pursuant to Local Civil Rule 7.2(b) [Koons Docket No. 72] is GRANTED; and it is

         FURTHER ORDERED that the Motion of the Professors of Property Law for Leave

 to File a Brief as Amici Curiae [Koons Docket No. 93] is GRANTED and their amicus brief

 [Koons Docket No. 93-2] shall be deemed FILED; and it is




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          FURTHER ORDERED that the Motion of Brady for Leave to File a Brief as Amicus

 Curiae [Koons Docket No. 96; Siegel Docket No. 47] is GRANTED and its amicus brief [Koons

 Docket No. 96-1; Siegel Docket No. 47-1] shall be deemed FILED; and it is

          FURTHER ORDERED that the Siegel Plaintiffs’ Motion for Leave to file an

 Overlength Reply Brief pursuant to Local Civil Rule 7.2(b) [Koons Docket No. 102-2] is

 GRANTED; and it is

          FURTHER ORDERED that the Siegel Plaintiffs’ Motion for Leave to File a

 Supplemental Reply Letter Brief in Response to Supplemental Declaration of David Rebuck

 [Koons Docket No. 109] is DENIED as moot; and it is

          FURTHER ORDERED that the Siegel Plaintiffs’ Emergency Motion for Leave to File

 Supplemental Papers [Koons Docket No. 116] is DENIED as moot; and it is

          FINALLY ORDERED that, to the extent the Court ruled that there are additional

 matters warranting discovery, the parties shall meet and confer and propose a scheduling

 order.

                                                 s/Renée Marie Bumb
                                                 RENÉE MARIE BUMB
                                                 Chief United States District Judge




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